                                                                                Case 3:06-cv-02820-WHA Document 330 Filed 11/30/07 Page 1 of 1



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                                                                          6                           IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   LUISA GONZALES, et al.,                                   No. C 06-02820 WHA
                                                                         11
United States District Court




                                                                                             Plaintiffs,
                               For the Northern District of California




                                                                         12     v.                                                      REQUEST RE BILL OF COSTS
                                                                         13   TEXACO, INC., TEXACO PETROLEUM
                                                                         14   COMPANY, INC., and CHEVRON
                                                                              CORPORATION,
                                                                         15                  Defendants.
                                                                         16                                                   /

                                                                         17          The Court has read the stipulation and order regarding medical examinations and
                                                                         18   depositions of plaintiffs and inquires defense counsel where the stipulation and order obligates
                                                                         19   plaintiffs’ counsel (as opposed to just plaintiffs) to pay reasonable travel and accommodation
                                                                         20   costs. The duty of plaintiffs counsel to respond in a timely manner to the bill of costs is not
                                                                         21   affected or extended by this request for information. Please respond by TUESDAY, DECEMBER
                                                                         22   4, 2007, at NOON.
                                                                         23
                                                                         24   Dated: November 30, 2007.
                                                                         25                                                       WILLIAM ALSUP
                                                                                                                                  UNITED STATES DISTRICT JUDGE
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